     Case 3:18-cv-02615-JO-DEB Document 68 Filed 07/27/22 PageID.5266 Page 1 of 5




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     Attorneys for Defendant,
13   CITY OF POWAY
14
                          UNITED STATES DISTRICT COURT
15
16                      SOUTHERN DISTRICT OF CALIFORNIA
17
18    KEVIN T. KELLY,                        Case No. 3:18-cv-2615-JO-DEB [Lead]
19                                           Case No. 3:19-cv-1803-JO-DEB
                  Plaintiff,
20                                           [Consolidated Actions]
21          v.
                                             Honorable Jinsook Ohta
22    CITY OF POWAY, a municipal
23    corporation,                           RESPONSE AND PARTIAL
                                             OPPOSITION TO PLAINTIFF KEVIN
24
                  Defendant.                 KELLY’S MOTION FOR LEAVE TO
25                                           AMEND THIRD AMENDED
26                                           COMPLAINT AND REQUEST FOR
                                             FINAL ENTRY OF DISMISSAL
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     RESPONSE AND PARTIAL OPPOSITION TO             USDC Case No.: 3-18-CV-2615-JO (DEB)
     KEVIN KELLY’S MOTION FOR LEAVE TO AMEND THIRD
     AMENDED COMPLAINT AND REQUEST FOR FINAL ENTRY OF DISMISSAL
     Case 3:18-cv-02615-JO-DEB Document 68 Filed 07/27/22 PageID.5267 Page 2 of 5




1          Defendant the City of Poway (“the City”) hereby files this Response And
2    Partial Opposition To Plaintiff Kevin Kelly’s (“Plaintiff”) Motion For Leave To
3    Amend Third Amended Complaint And Request For Final Entry Of Dismissal
4    (ECF 64). (“Plaintiff’s Motion”).
5          In Plaintiff’s Motion, Plaintiff seeks to amend his Third Amended
6    Complaint (the “TAC”) to “drop the three claims remaining after the prior Court
7    dismissal of Plaintiff’s TAC. . . . “ (Plaintiff’s Motion at 1:9-10.) It also seeks an
8    order for dismissal of these claims. (Plaintiff’s Motion at 1:19-23).
9          The City has no opposition to Plaintiff’s request for an order dismissing
10   these claims. However, the City opposes the request to amend the TAC to dismiss
11   these claims as procedurally improper. As acknowledged by Plaintiff, a party
12   seeking to amend a complaint must provide a copy of the proposed pleading.
13   USDC Local Rules, Civil Rule 15.1 (b). The party must also provide a version of
14   the proposed pleading showing differences in the proposed pleading from the prior
15   pleading. USDC Local Rules, Civil Rule 15.1 (b) and (c). A motion to amend
16   may be denied due to failure to attach the proposed pleading to the motion. See
17   Cureton v. National Collegiate Athletic Ass'n (3rd Cir. 2001) 252 F3d 267, 273; In
18   re 2007 Novastar Fin'l Inc., Secur. Litig. (8th Cir. 2009) 579 F3d 878, 884.
19         Plaintiff states that a proposed amended pleading is unnecessary as it does
20   not intend to file a Fourth Amended Complaint. (Plaintiff’s Motion at 9:5-9.)
21   However, this statement underscores the procedural ambiguity created if the
22   requested amendment is granted. If Plaintiff’s Motion is granted, the Third
23   Amended Complaint will no longer be the operative complaint, but there will be no
24   Fourth Amended Complaint to supersede it, and thus it will be uncertain which
25   allegations remain part of the operative complaint. This uncertainty is heightened
26   as Plaintiff seeks an amendment to drop “portions” of certain claims, not entire
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     RESPONSE AND PARTIAL OPPOSITION TO             USDC Case No.: 3-18-CV-2615-JO (DEB)
     KEVIN KELLY’S MOTION FOR LEAVE TO AMEND THIRD
     AMENDED COMPLAINT AND REQUEST FOR FINAL ENTRY OF DISMISSAL
     Case 3:18-cv-02615-JO-DEB Document 68 Filed 07/27/22 PageID.5268 Page 3 of 5




1    claims, so it will be uncertain as to which allegations of these claims have been
2    removed by amendment, and which remain.
3          Because of this issue, the cleaner procedural approach would be to deny the
4    motion to amend, and just enter the order requested by Plaintiff dismissing the
5    three remaining claims.
6
7    Dated: July 27, 2022                          BOOTH LLP
8
9                                                       Joshua Levine
                                                   By: Joshua Levine
10                                                 Attorneys for Defendant
                                                   CITY OF POWAY
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     RESPONSE AND PARTIAL OPPOSITION TO             USDC Case No.: 3-18-CV-2615-JO (DEB)
     KEVIN KELLY’S MOTION FOR LEAVE TO AMEND THIRD
     AMENDED COMPLAINT AND REQUEST FOR FINAL ENTRY OF DISMISSAL
     Case 3:18-cv-02615-JO-DEB Document 68 Filed 07/27/22 PageID.5269 Page 4 of 5




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                                                                       FOR COURT USE
2            UNITED STATES DISTRICT COURT                              ONLY
3          SOUTHERN DISTRICT OF CALIFORNIA

4                  Kevin T. Kelly v. City of Poway
5
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9
       Attorney(s) for:                   Courtroom 4C              Case Number
10     CITY OF POWAY                                                3:18-cv-2615-JO-
                                                                    DEB
11
12                                 CERTIFICATE OF SERVICE
13
      I, the undersigned, declare: I am employed in the County of Los Angeles, State of
14    California. I am over the age of 18 years and not a party to this action. My
15    business address is 11835 West Olympic Boulevard, Suite 600-East, Los
16    Angeles, California 90064. On July 27, 2022 I served a copy of the following
      document(s):
17
18      RESPONSE AND PARTIAL OPPOSITION TO PLAINTIFF KEVIN
         KELLY’S MOTION FOR LEAVE TO AMEND THIRD AMENDED
19
        COMPLAINT AND REQUEST FOR FINAL ENTRY OF DISMISSAL
20
21    (BY MAIL) I caused each such envelope to be sealed and placed for collection
22    and mailing from my business address. I am readily familiar with Booth LLP’s
      practice for collection and processing of correspondence for mailing, said
23    practice being that in the ordinary course of business mail is deposited with the
24    postage thereon fully prepaid in the United States Postal Service the same day as it
      is placed for collection. I am aware that upon motion of the party served, service
25
      is presumed invalid if the postal cancellation date or postage meter date on the
26    envelope is more than one day after the date of deposit for mailing contained in this
27    affidavit. Service by this method was sent to:

28
                                                4
     RESPONSE AND PARTIAL OPPOSITION TO             USDC Case No.: 3-18-CV-2615-JO (DEB)
     KEVIN KELLY’S MOTION FOR LEAVE TO AMEND THIRD
     AMENDED COMPLAINT AND REQUEST FOR FINAL ENTRY OF DISMISSAL
     Case 3:18-cv-02615-JO-DEB Document 68 Filed 07/27/22 PageID.5270 Page 5 of 5




1
                                                                   Kevin T. Kelly
2
                                                               2669 Hamilton Avenue
3
                                                                El Centro, CA 92243
4                                                             E-mail: ktkelly@me.com
5
6      (BY E-MAIL) By transmitting a true copy of the foregoing document to the e-
7      mail address as set forth above.
8
       VIA CM/ECF SYSTEM) The aforementioned documents were electronically
9      filed with the Clerk of the United States District Court Southern District of
10     California by using the CM/ECF system. I certify that service upon all
       participants in the case which are registered CM/ECF users, will be accomplished
11     by the CM/ECF system.
12
       I declare under penalty of perjury under the laws of the United States of America
13     that the foregoing is true and correct. Executed on July 27, 2022, at Los Angeles,
14     California.
15
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                                                                                                       /s/ Carol Easton
17
                                                                                              Carol Easton
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27   S:\Active Cases\2511-006 Lake Poway\3.19-cv-2615 Kelly v. C.O.P\Drafts\2022.07.27 PARTIAL OPPOSITION TO MOTION TO AMEND (8.10.22).docx


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     RESPONSE AND PARTIAL OPPOSITION TO             USDC Case No.: 3-18-CV-2615-JO (DEB)
     KEVIN KELLY’S MOTION FOR LEAVE TO AMEND THIRD
     AMENDED COMPLAINT AND REQUEST FOR FINAL ENTRY OF DISMISSAL
